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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

         Plaintiff,
                                                             Hon. Janet T. Neff
 v.
                                                             Case No. 1:21-cr-00082
 VAL JAMES LECLAIRE, II,

       Defendant.
 ________________________________/

                              ORDER OF DETENTION

        This matter is before the Court on the government’s motion for pretrial

detention. Defendant has been charged in an Indictment.        The Indictment charges

him with conspiracy to distribute and possess with intent to distribute 50 grams or

more of methamphetamine, in violation of 21 U.S.C. §§ 846, 841(a)(1) and

(b)(1)(A)(vii).   Given the nature of the charges, there is a statutory rebuttable

presumption in favor of detention.

        The government sought defendant’s detention on the basis that he is a danger

to the community, 18 U.S.C. § 1342(f)(1), and that he poses a significant risk of flight,

18 U.S.C. § 3142(f)(2)(A).   The Court conducted a hearing on May 14, 2020, at which

defendant was represented by counsel.

        Having considered the information presented at the hearing, the parties’ oral

submissions, and the information in the Pretrial Services Report, and for the reasons

stated on the record, the Court finds that defendant has rebutted the statutory

presumption of detention as to significant risk of flight, but not as to danger to the
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community. The Court alternatively finds, as explained on the record, that the

government has met its burden by preponderant evidence that defendant poses a

significant risk of non-appearance and by clear and convincing evidence that he poses

a danger to the community. The Court further finds that there is no condition or

combination of conditions that will ensure the appearance of defendant and the safety

of the community. Accordingly,

      IT IS ORDERED that defendant is committed to the custody of the Attorney

General pending trial.

      DONE AND ORDERED on May 15, 2021.


                                                     /s/ Phillip J. Green
                                                    PHILLIP J. GREEN
                                                    United States Magistrate Judge




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